              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                       Plaintiff,

 v.                                              Case No. 17-CR-124-2-JPS

 MARCUS HUTCHINS,
                                                 AMENDED TRIAL
                       Defendant.             SCHEDULING ORDER

      On July 11, 2017, this case was filed with the Court and was assigned

to this branch for further proceedings. A trial was originally scheduled for

October 23, 2017 (Docket #13), but was adjourned after the case was

designated complex in order to ensure adequate time for discovery.

Following the parties’ submission of proposed trial dates (Docket #119), the

Court now issues this amended trial scheduling order.

      IT IS HEREBY ORDERED as follows:

      The following proceedings in this case have been set and will be held

before the Honorable J.P. Stadtmueller in the United States Courthouse, 517

East Wisconsin Avenue, Room 425, Milwaukee, Wisconsin 53202:

      FINAL PRETRIAL
      CONFERENCE:            Tuesday, July 2, 2019 at 8:30 AM

      JURY TRIAL:            Monday, July 8, 2019 at 8:30 AM

      In accordance with 18 U.S.C. § 3161(h)(7)(A), the Court finds that,

pursuant to the joint recommendation of counsel as to trial dates, along

with Defendant’s agreement to same for reasons including to ensure the

availability of his chosen defense counsel, see (Docket #119), the ends of

justice outweigh the best interest of the public and the defendant in a



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speedy trial; the Court further finds that the time between the issuance of

this Order and the July 8, 2019 trial date is excludable from any applicable

calculation under the Speedy Trial Act.

       Counsel for the defendant are directed to notify their client of the

date and time of the above scheduled court proceedings. It is the

responsibility of the assigned Assistant U.S. Attorney, in consultation with

the defendant’s attorneys, pretrial services, U.S. Marshals Service, state

authorities, and/or the Bureau of Prisons, to ascertain the custodial status

of the defendant and take all appropriate measures, including timely

application for a writ of habeas corpus, to ensure the defendant’s presence.

       To ensure adequate preparation of the case for trial,

       IT IS FURTHER ORDERED that counsel who will actually try the

case for the government and the defendant must meet and confer in

person, and thereafter prepare and file a single joint final pretrial report,

the principal burden for the preparation and filing of which rests with

counsel for the government. In preparing the final pretrial report, counsel

for the parties are expected to be fully conversant with not only the relevant

facts, but more importantly, the applicable Federal Rules of Criminal

Procedure, the Criminal Local Rules, and the Federal Rules of Evidence.

       Consistent with the facts and law applicable to the case, the final

pretrial report must fully address each of the following:

   1. A brief summary of the charge(s) against the defendant, bearing in
      mind that this summary will be read verbatim to potential jurors to
      inform them of the identity of the defendant and the nature of the
      charges.
   2. The anticipated length of the trial.
   3. Stipulations of fact between the parties.



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   4. The name(s), occupation, and city of residence of all potential
      witnesses who may be called by the prosecution and/or defendant.
      Absent extraordinary circumstances and good cause shown, any
      witness not disclosed in the final pretrial report will not be permitted
      to testify at trial.
   5. A narrative statement detailing the educational background,
      qualifications, and experience of each expert witness expected to be
      called to testify. Consistent with the requirements found in Federal
      Rule of Criminal Procedure 16(a)(1)(G) and 16(b)(1)(C), together
      with relevant Seventh Circuit case authority, the report must also
      include a written summary of all expert testimony that, pursuant to
      Federal Rules of Evidence 702, 703 and 705, the government and/or
      the defendant intends to rely upon at trial.
   6. A complete list of all exhibits the parties expect will be offered in
      evidence or otherwise referenced during the trial. Absent
      extraordinary circumstances and good cause shown, any exhibit not
      disclosed in the final pretrial report will not be permitted to be used
      during the trial.
   7. Any area of inquiry that the parties would like the Court to consider
      in questioning potential jurors on voir dire.
   8. Proposed jury instructions—generally limited to the elements of the
      offense(s) or other subjects unique to the facts and/or law applicable
      to the case.
   9. A proposed “Special Verdict,” should the underlying facts,
      including sentencing considerations, so require.

      In preparing the final pretrial report, counsel for the parties should

be mindful of each of the following considerations:

   1. This branch of the Court utilizes a single sequential numbering
      system for all exhibits. Therefore, counsel for the parties must jointly
      prepare a single exhibit list. This exhibit list should be prepared
      using the “Exhibit and Witness List” form (AO-187) found on this
      District’s website on the “All Forms” page. The government’s
      exhibits should be listed first, in numerical order, followed
      immediately by the defendant’s exhibits, in numerical order, and
      thereafter followed by a listing of the parties’ witnesses. The
      completed form should be e-mailed to the Court’s proposed order
      mailbox at the time the pretrial report is electronically filed.
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 2. In designating an exhibit for trial, the designating party must have a
    good-faith basis to believe the exhibit will actually be necessary for
    use at trial.
 3. Save for essential physical exhibits, all evidence is to be presented in
    an electronic format. The parties should be mindful of this
    requirement during the discovery process. Upon request, the Court’s
    information technology staff is available to provide a tutorial on
    interfacing with the Court’s electronic presentation system. The only
    printed copies of exhibits that should be brought to the courtroom
    for trial are: (a) those created for the parties’ own use at counsel’s
    table, and (b) as appropriate and necessary, a single copy of each
    exhibit for the Court to provide to the jury to consult during their
    deliberations.

 4. All exhibits must be marked, numbered, and disclosed, either in
    paper or electronic format, to opposing counsel prior to the final
    pretrial conference. Given that the parties must produce their
    exhibits to the Court in electronic format, the Court encourages the
    parties to utilize electronic transfer for their own exchange.
 5. The parties’ proposed jury instructions and the “Special Verdict” (if
    required), must be tailored to the facts and law applicable to the case,
    and edited and formatted as the parties would expect the
    instructions and verdict form to be read to the jury. References to form
    book instructions by number, without more, is wholly unacceptable. The
    parties’ proposed jury instructions and verdict form should be
    contained in a single jointly drafted document. For any disputed
    instruction, the parties should provide the instruction at the top of
    the page and, on the same page, offer each party’s arguments
    concerning the instruction and, if required, an offer of proof, using
    additional pages if necessary. The Court contemplates that this joint
    drafting process will be conducted by counsel in person so that their
    differences on the instructions and verdict form may be fully and
    candidly discussed. Joint drafting also ensures that the parties will
    present concise arguments based on the actual, not anticipated,
    positions of their opponents.
 6. Absent exceptional circumstances, motions in limine must be filed on
    or before Friday, June 21, 2019. Each motion should consist of a
    single jointly drafted document signed by counsel for both parties.
    The motion should begin with a statement of the issue presented and

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       a brief non-argumentative statement of the relevant facts. The
       movant should then offer its arguments in favor of the motion,
       followed by the non-movant’s responses thereto. As with the jury
       instructions and verdict form, the Court expects that the parties will
       confer in person prior to the filing of motions in limine and fully
       explore their respective positions, so that the motions themselves
       will focus only on the precise areas of disagreement.

   7. All Daubert motions must be filed on or before Wednesday, June 19,
      2019. Each motion should be accompanied by a brief supporting
      memorandum of law. Responses to any such motions must be filed
      within seven (7) days. No reply briefs are permitted. As with the
      motions in limine, the Court expects that the parties will confer in
      person prior to the filing of Daubert motions and fully explore their
      respective positions, so that the motions themselves will focus only
      on the precise areas of disagreement.

   8. As officers of the court, counsel have an obligation to discuss the
      anticipated filing of trial-related motions directly with opposing
      counsel, as more often than not such matters are best resolved
      informally with open communications between counsel without the
      necessity of court intervention. The Court notes that to discuss
      requires actual conversation with suggestions for genuine
      compromise, as opposed to mere e-mail wars of words between
      opposing counsel. Therefore, when filed, all trial-related motions
      must include a separate certification1 prepared by movant’s counsel
      stating that, after personal consultation with counsel for the party
      opposed to the motion, and sincere attempts to resolve their
      differences, the parties are unable to reach an accord. The
      certification must also recite the dates and times of such conferences
      and the names of all participants. To be clear, the Court expects the
      parties to confer several times and document those conferences
      before raising a trial-related motion before the Court. The failure to
      comply with the letter or the spirit of this rule will be sufficient
      grounds to deny the motion.




       1 The certification that must be filed with a pretrial motion must be
docketed as a separate docket entry and should not be hidden within a motion or
a brief.
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        The final pretrial report must be electronically filed with the Court

not later than 2:00 PM on Wednesday, June 26, 2019. In addition, a hard

copy of the report bearing the original inked signatures of counsel who will

actually try the case must be delivered to the Court’s chambers, along with

three (3) USB thumb drives, each containing a complete, consolidated set of

the parties’ exhibits, including all documents and a photograph of each

physical exhibit. The documents included on the thumb drives must be text-

searchable. The signed pretrial report and thumb drives must be

simultaneously delivered to the Court’s chambers on Wednesday, June 26,

2019.

        Should the defendant wish to resolve this case short of trial and

remain eligible for acceptance of responsibility credit under applicable

United States Sentencing Guidelines, while at the same time obviating the

necessity of the parties preparing and filing a final pretrial report, counsel

for the defendant must notify the Court of such intention, including the

filing of a written plea agreement, not later than the close of business on

Monday, June 17, 2019. Upon filing a plea agreement, counsel for the

defendant remains obliged to contact the assigned Magistrate Judge to

schedule a change of plea hearing which will be held no later than ten (10)

days after the scheduled date and time of the Final Pretrial Conference.

        Finally, the Court readily acknowledges and well appreciates the

fact that in this branch preparation of the final pretrial report requires a

substantial commitment of time and resources, and the parties ought not

treat the Court’s directives lightly for in the final analysis adequate

preparation remains the hallmark of an effective advocate, and while every

litigant is entitled to their day in court, they are not entitled to intrude upon

someone else’s day in court.

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    Dated at Milwaukee, Wisconsin, this 1st day of March, 2019.

                              BY THE COURT:




                              J.P. Stadtmueller
                              U.S. District Judge




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